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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  INFERNAL TECHNOLOGY, LLC,                         §
  TERMINAL REALITY, INC.,                           §
                                                    §
                 Plaintiffs,                        §
                                                    §
  v.                                                §   CIVIL ACTION NO. 2:19-CV-00248-JRG
                                                    §
  SONY INTERACTIVE ENTERTAINMENT                    §
  LLC,                                              §
                                                    §
                 Defendant.                         §

              ORDER ON PRETRIAL MOTIONS AND MOTIONS IN LIMINE

        The Court held a Pretrial Conference in the above-captioned matter on Tuesday, January

 19, 2021 regarding pending pretrial motions and motions in limine (“MILs”) filed by Plaintiffs

 Infernal Technology, LLC (“Infernal”) and Terminal Reality, Inc. (“TRI”) (together, “Plaintiffs”)

 and Defendant Sony Interactive Entertainment LLC (“Sony” or “SIE”) (collectively, the

 “Parties”). (Dkt. Nos. 208, 209, 210, 211, 212, 213, 214, 246, 247). This Order memorializes the

 Court’s rulings on the aforementioned pretrial motions and MILs as announced into the record,

 including additional instructions that were given to the Parties. While this Order summarizes the

 Court’s rulings as announced into the record during the pretrial hearing, this Order in no way limits

 or constrains such rulings from the bench. Accordingly, it is hereby ORDERED as follows:
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                                           PRETRIAL MOTIONS

 1.      Sony’s Motion for Summary Judgment of No Indirect or Willful Infringement
         (Dkt. No. 208).

         The motion was GRANTED-AS-AGREED. (Transcript, Dkt. No. 271, at 16:3–14).1

         Plaintiffs stipulated that they have not pled indirect or willful infringement and will not

 raise these issues at trial. (See Dkt. No. 222). Accordingly, the Court granted the motion by the

 agreement of the Parties.

 2.      Sony’s Motion for Summary Judgment of Non-Infringement Regarding the Accused
         Consoles (Dkt. No. 209).

         The motion was DENIED. (Transcript at 121:19–122:4).

         The Court was persuaded that Plaintiffs, through their expert, have presented viable

 theories of infringement of Claim 50 of the ’488 Patent regarding the Accused Consoles that would

 comport with the Court’s claim constructions. The Court denied the motion because the

 infringement theory presents a genuine issue of material fact that is appropriately decided by a

 jury. See Fed. R. Civ. P. 56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986).

 3.      Sony’s Motion for Partial Summary Judgment Limiting Damages for Failure to
         Mark Under 35 U.S.C. § 287 (Dkt. No. 210).

         The motion was DENIED. (Transcript at 49:11–50:24).

         The Court found as an undisputed fact that only method claims are asserted from the ’822

 Patent. See Fed. R. Civ. P. 56(g). A duty to mark does not arise with respect a patent when only

 method claims are asserted. Hanson v. Alpine Valley Ski Area, Inc., 718 F.2d 1075, 1082–83 (Fed.

 Cir. 1983); Am. Med. Sys. v. Med. Eng’g Corp., 6 F.3d 1523, 1538–39 (Fed. Cir. 1993); Crown

 Packaging Tech. v. Rexam Beverage Can Co., 559 F.3d 1308, 1316–17 (Fed. Cir. 2009).



 1
   Unless otherwise indicated, all references herein to “Transcript” are to the transcript of the pretrial conference
 (Dkt. No. 271).

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 Accordingly, the Court concluded that the ’822 Patent is not subject to a limitation on damages

 under 35 U.S.C. § 287(a) as a matter of law.

           With respect to the ’488 Patent—for which both method and apparatus claims are

 asserted—the Court concluded that each failure-to-mark theory raised by SIE presented a genuine

 issue of material fact. The Court denied SIE’s motion for summary judgment, concluding that

 limitation of damages under 35 U.S.C. § 287(a) is an issue properly decided by a jury. See Fed. R.

 Civ. P. 56(a); Anderson, 477 U.S. at 255.

 4.        Sony’s Partial Motion for Summary Judgment To Exclude Foreign Sales By Other
           Entities From Plaintiffs’ Asserted Damages (Dkt. No. 211).

           The motion was GRANTED-IN-PART and DENIED-IN-PART. (Transcript at 83:23–

 84:23).

           The Court granted the motion with respect to accused consoles that are sold outside of the

 United States and that never entered the United States as an assembled item. The Court concluded

 that Plaintiffs have not presented sufficient evidence of a causal nexus between these foreign sales

 and any domestic acts of infringement. See Microsoft Corp. v. AT&T Corp. 550 U.S. 437, 441

 (2007); Plastronics Socket Partners Ltd. v. Dong Weon Hwang, No. 2:18-cv-14, 2019 WL

 4392525, at *5 (E.D. Tex. June 11, 2019), adopted 2019 WL 2865079 (July 3, 2019); SIMO

 Holdings Inc. v. Hong Kong uCloudlink Network Tech. Ltd., 396 F. Supp. 3d 323, 350–51

 (S.D.N.Y. 2019). Accordingly, these sales are to be excluded from Plaintiffs’ damages case.

           The Court denied the motion with respect to any accused consoles that were imported into

 the United States (and later sold abroad), and with respect to the accused games. In each of these

 cases, Plaintiffs have presented sufficient evidence to raise a genuine issue of material fact as to

 damages for foreign sales. See Fed. R. Civ. P. 56(a); Anderson, 477 U.S. at 255. Accordingly,

 these sales are not excluded.


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 5.      Sony’s Motion to Exclude Portions of Lance Gunderson’s Reasonable Royalty
         Calculation and Opinions Regarding Damages (Dkt. No. 212).

         The motion was DENIED. (Transcript at 103:10–105:11).

         The Court concluded that Mr. Gunderson’s apportionment and hypothetical negotiation

 analysis relating to the accused consoles, and his analysis and use of prior licenses (including the

 PalTalk license), were not so unreliable as to warrant exclusion under Fed. R. Evid. 702 and

 Daubert v. Merrell Dow Pharm, Inc., 509 U.S. 579 (1993). The issues raised by SIE are properly

 issues of weight rather than admissibility, and are best addressed through cross-examination and

 the presentation of competing evidence.

         The Court noted that Mr. Gunderson’s report did not allocate sales-based infringement

 damages between method and apparatus claims. While the Court concluded that this did not per

 se warrant exclusion, the Court ORDERED that Plaintiffs have leave to serve an amended or

 supplemental report from Mr. Gunderson within fourteen (14) days of the pretrial conference.

 Such amendments or supplements are limited to delineating sales of accused products that relate

 to infringement of apparatus claims. The Court further ORDERED that SIE has leave to conduct

 a targeted deposition of Mr. Gunderson, limited to addressing any changes or amendments to his

 report. Such deposition is to be completed promptly after the amended or supplemental report is

 served and is to last no longer than three (3) hours.

 6.      Plaintiffs’ Motion to Strike Expert Report of Anselmo Lastra Regarding Invalidity of
         U.S. Patent Nos. 6,362,822 and 7,061,488 (Dkt. No. 213).

         The motion was GRANTED-IN-PART and DENIED-IN-PART. (Transcript at 24:17–

 26:1)

         The Court granted the motion and excluded paragraphs 42–49 and paragraphs 66–78 of

 Dr. Lastra’s report in their entirety, as well as paragraphs 50–65 insofar as they purport to offer an

 opinion beyond whether a person having ordinary skill in the art would understand the claim terms

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 to be routine, well-understood, or conventional. The Court denied the motion as to the remainder

 of his report.

         Patent eligibility is ultimately a question of law, although it may contain underlying

 questions of fact. Berkheimer v. HP, Inc., 881 F.3d 1360, 1365 (Fed. Cir. 2018). Specifically, the

 question of whether a claim limitation or combination of claim limitations is more than routine,

 conventional, or well-understood (part of Step 2 under Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 573

 U.S. 208 (2014)) is a question of fact, appropriate for jury determination. See PPS Data, LLC v.

 Jack Henry & Assocs., 404 F. Supp. 3d 1021, 1040 (E.D. Tex. 2019). Accordingly, Dr. Lastra may

 testify to the jury about whether a person having ordinary skill in the art would understand the

 claim limitations, alone or in combination, to be routine, conventional, or well-understood. Since

 other aspects of the patentability analysis (including the overall determination of eligibility)

 present questions of law for the Court, it is improper for Dr. Lastra to testify to the jury beyond

 the fact questions inherent in Alice Step 2.

         The Court will reserve any determinations under Alice Step 1 for post-verdict proceedings,

 to the extent it is still a live issue. See, e.g., Maxell v. ZTE Corp., No. 5:16-cv-179, Dkt. No. 181

 (E.D. Tex. June 8, 2018); Innovation Scis. v. Amazon.com, No. 4:18-cv-474, 2020 WL 4884000

 (E.D. Tex. Aug. 20, 2020). Likewise, the Court will reserve the question of whether it will hear

 Dr. Lastra’s testimony on Alice Step 1 during a bench trial until that time.

 7.      Plaintiffs’ Motion to Strike Portions of the Rebuttal Expert Report of Lauren R.
         Kindler (Dkt. No. 214)

         The motion was DENIED. (Transcript at 111:10–112:1).

         The Court found that the challenges to portions of Ms. Kindler’s report go to weight rather

 than admissibility, and that cross-examination is the proper method to challenge her opinions. The

 Court was of the opinion that the technology in the licenses relied on by Ms. Kindler are not so


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 divorced from what is at issue in this case as to warrant exclusion under ResQNet.com, Inc. v.

 Lansa, Inc., 594 F.3d 860 (Fed. Cir. 2010). The Court was not persuaded that Ms. Kindler’s

 reliance on TRI’s financial condition at the time of a hypothetical negotiation should be excluded

 under Daubert, and reserved that issue for determination along with the motions in limine.




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                                     MOTIONS IN LIMINE

        It is ORDERED that the Parties, their witnesses, and counsel shall not raise, discuss, or

 argue the following before the venire panel or the jury without prior leave of the Court:

 I.     AGREED MOTIONS IN LIMINE (Dkt. No. 247 at 7)

        The following mutually applicable MILs are GRANTED-AS-AGREED of the parties:

 Agreed MIL No. 1: Any argument, evidence, or reference to TRI or Infernal as a “patent
                   troll” or “non-practicing entity.”

 Agreed MIL No. 2: Any argument, evidence, or reference to any proposed or actual litigation
                   funding agreement or communication relating to litigation funding.

 Agreed MIL No. 3: Any argument, evidence, or reference to any pending lawsuit or legal
                   proceeding relating to the Asserted Patents (including the IPR petition
                   filed by Take-Two).

 Agreed MIL No. 4: Any argument, evidence, or reference to any alleged “valuation” of the
                   Asserted Patents by Plaintiffs.

 Agreed MIL No. 5: Any argument, evidence, or reference to any claims of the Asserted
                   Patents previously asserted but no longer asserted by Plaintiffs, or any
                   video games published by SIE previously accused of infringement, but no
                   longer asserted by Plaintiffs.

 Agreed MIL No. 6: Any argument, evidence, or reference to Plaintiffs’ arrangement with
                   their counsel regarding the payment of attorneys’ fees.

 Agreed MIL No. 7: Any argument, evidence, or reference to any pre-trial motions, including
                   discovery motions, or the Court’s rulings on any of those motions, with
                   the exception of the Court’s claim construction rulings.

 Agreed MIL No. 8: Any argument, evidence, or reference to the potential impact of a
                   damages award on the price of any products, including the products sold
                   by SIE or Sony.

 Agreed MIL No. 9: Any argument, evidence, or reference inconsistent with the stipulations
                   entered into between the parties and filed with the Court.

 (Transcript at 123:22–25).




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 II.    PLAINTIFF’S OPPOSED MOTIONS IN LIMINE (Dkt. No. 247 at 1)

 Plaintiffs’ MIL No. 1: Any argument, evidence, or reference to any alleged forum shopping
                        by the Plaintiffs or to this venue as favorable to a patentee or to the
                        fact that SIE filed a motion for improper venue.

        The MIL was GRANTED-AS-AGREED. (Transcript at 124:22–23).

 Plaintiffs’ MIL No. 2: Any argument, evidence, or reference to any negotiations relating to
                        any Exclusive License and Enforcement Agreement between TRI and
                        Infernal, or the reasons for the parties to that agreement to enter into
                        any such agreement.

        The MIL was GRANTED-AS-MODIFIED. (Transcript at 127:12–128:2).

        The Court will grant the MIL and exclude negotiations leading up to the agreement

 between TRI and Infernal. The Court will also grant the MIL and exclude any pejorative

 characterizations of that license. However, the parties may present the facts of the legal relationship

 between TRI and Infernal to the extent it is relevant and otherwise admissible.

 Plaintiffs’ MIL No. 3: Any argument, evidence, or reference to the inventions of the asserted
                        claims of the Asserted Patents as directed to an “abstract idea”.

        The MIL was GRANTED. (Transcript at 129:12–130:4).

        The Court granted this MIL in accordance with its ruling on the Daubert motion on

 Dr. Lastra (Dkt. No. 213). Alice Step 1 is clearly a question of law for the Court. This MIL does

 not preclude otherwise admissible testimony on what is well-understood, routine, or conventional

 from the perspective of person having ordinary skill in the art.

 Plaintiffs’ MIL No. 4: Any argument, evidence, or reference to the overall financial condition
                        of TRI or Infernal.

        This MIL was GRANTED as clarified in the record. (Transcript at 132:20–135:7).

        The Court granted this MIL and will police the use of such argument, evidence, and

 references. The Court noted, however, that a party’s financial condition at the appropriate time

 may be relevant to hypothetical negotiations. Accordingly, the parties may seek leave where


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 appropriate to discuss the financial conditions of TRI or Infernal. The Court further noted that this

 MIL will not prevent Sony from using argument or evidence to the extent Plaintiffs have opened

 the door to its use.

 Plaintiffs’ MIL No. 5: Any argument, evidence, or reference to any statement made by the
                        parties or rulings made by the court in the Electronic Arts, Microsoft
                        or Crytek cases. This shall not preclude any reference to the settlement
                        agreements in these cases, assuming that the Court does not exclude
                        such settlement agreements as irrelevant, or statements made by
                        Plaintiffs which Defendant contends constitute admissions regarding
                        the issue of whether video games using the Infernal Engine embodied
                        the inventions of the Asserted Patents.

         This MIL was GRANTED as clarified in the record. (Transcript at 137:3–140:20).

         To the extent that prior statements (including prior inconsistent statements) are

 independently admissible and preadmitted, they are not excluded by this MIL. However, the

 parties are not to publish to the jury that those statements came from litigation. To the extent that

 those statements came from litigation materials (e.g., pleadings or interrogatory responses), the

 parties shall seek leave of Court before presenting those materials to the jury.

         The Court clarified that litigation licenses that are admissible under the Federal Rules of

 Evidence and are pre-admitted by the Court are not be excluded by this MIL.

         The Court directed the parties to reduce any agreements relating to statements from prior

 litigation to writing and file the same as a stipulation with the Court.

 Plaintiffs’ MIL No. 6: Legal disputes involving TRI unrelated to the Asserted Patents.

         This MIL was GRANTED. (Transcript at 142:3–143:2).

         To the extent either party believes an unrelated legal dispute is relevant, that party shall

 seek leave of Court before presenting that matter to the jury.

 Plaintiffs’ MIL No. 7: The distribution of any recovery by Plaintiffs in the Electronic Arts,
                        Microsoft or Crytek cases, or potential damages award in this case
                        beyond what is set forth in the Exclusive License and Enforcement


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                         Agreement, other than the fact that a witness may have an interest in
                         such award.

        This MIL was GRANTED as clarified in the record. (Transcript at 144:12–146:18).

        The Court clarified that a witness’s financial interest in the outcome of this case may be

 relevant relevant for the factfinder to assess bias, and such elicitations of bias are not excluded by

 this MIL. However, amounts received or paid by parties or witnesses unrelated to this case are

 irrelevant and prejudicial and are subject to this MIL. This MIL also does not exclude proper use

 of the litigation licenses for a reasonable royalty analysis.

 Plaintiffs’ MIL No. 8: Any argument, evidence, or reference to the applicability of the
                        marking provision of 35 U.S.C. § 287(a) to the asserted method claims
                        of the ’822 Patent.

        This MIL was WITHDRAWN. (Transcript at 146:19–22).




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 III.   SONY’S OPPOSED MOTIONS IN LIMINE (Dkt. No. 246)

 Sony’s MIL No. 1:       Preclude Plaintiffs from referencing non-comparable Settlement
                         Agreements addressed in Defendant’s Daubert Motion (Microsoft, EA,
                         Crytek, and PalTalk).

        This MIL was DENIED. (Transcript at 147:5).

 Sony’s MIL No. 2:       Preclude Plaintiffs from soliciting or putting on testimony, evidence or
                         argument relating to Defendant’s and related companies’ total profits,
                         revenues, and other financial information beyond the Accused
                         Products.

        This MIL was GRANTED-IN-PART and DENIED-IN-PART. (Transcript at 148:8-22).

        The Court granted this MIL as to SIE-related entities, including its corporate parent, that

 are not parties to this lawsuit, and as to SIE beyond the products accused herein. The parties must

 seek leave to present testimony, evidence, or argument on these points. The Court denied this MIL

 as to SIE as it pertains to the accused products in this case.

 Sony’s MIL No. 3:       If summary judgment is granted as to SIE’s Motion for Partial
                         Summary Judgment to Exclude Foreign Sales (Dkt. 211), then
                         preclude Plaintiffs from soliciting or putting on testimony, evidence,
                         or argument relating to such foreign sales.

        This MIL was GRANTED-IN-PART and DENIED-IN-PART. (Transcript at 149:6-19).

        The Court granted this MIL as to consoles that are wholly foreign, and denied this MIL as

 to consoles that enter the United States and as to games. The Court noted that its ruling on this

 MIL should conform with the Court’s ruling on Sony’s motion for summary judgment relating to

 foreign sales (Dkt. No. 211).

 Sony’s MIL No. 4:       Preclude Plaintiff from soliciting or putting on testimony, evidence, or
                         argument relating to sales of Accused products made by companies
                         other than Defendant, including without limitation sales made by
                         Defendant’s parent company and related foreign companies.

        This MIL was DENIED. (Transcript at 149:24–150:20).




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         The Court denied this MIL and directed that the Parties’ compliance mirror the Court’s

 ruling on the Gunderson Daubert motion (Dkt. No. 212).

 Sony’s MIL No. 5:       Preclude Plaintiffs from soliciting or putting on testimony, evidence,
                         or argument regarding damages for alleged infringement of method
                         claims.

         This MIL was DENIED. (Transcript at 150:13–20).

         The Court denied this MIL and directed that the parties’ compliance mirror the Court’s

 ruling on the Gunderson Daubert motion (Dkt. No. 212). The Court further noted that MILs that

 attempt to relitigate dispositive motions, as here, are not proper motions in limine, and are frowned

 upon.

 Sony’s MIL No. 6:       Preclude Plaintiffs from soliciting or putting on testimony, argument,
                         or evidence suggesting that the Infernal Engine or any video games
                         using the Infernal Engine does not practice any claim of the Asserted
                         Patents, including without limitation testimony from lay witness Mark
                         Randel.

         This MIL was DENIED. (Transcript at 151:24–152:4).

         The Court denied this MIL and clarified that no fact witnesses shall offer opinion

 testimony.

 Sony’s MIL No. 7:       Preclude argument that Plaintiffs had no duty to mark for the ’822
                         Patent.

         This MIL was DENIED. (Transcript at 152:5–9).

         The Court denied this MIL, finding that it duplicated Sony’s motion for summary judgment

 on marking (Dkt. No. 210), and therefore was not a proper motion in limine. Proper limine practice

 is not a second bite at the dispositive apple.

 Sony’s MIL No. 8:       Preclude either party from soliciting or putting on testimony,
                         evidence, or argument relating to non-representative games.

         This MIL was WITHDRAWN. (Transcript at 152:12–14).



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 Sony’s MIL No. 9:        Preclude Plaintiffs from soliciting or putting on testimony, evidence,
                          or argument relating to Defendant’s knowledge of the Asserted
                          Patents, indirect infringement, or willful infringement of the Asserted
                          Patents. See Dkt. 222.

           This MIL was GRANTED-AS-AGREED as clarified in the record. (Transcript at 153:24–

 154:1).

           The parties agreed to the following language as memorialized in the record:

           Preclude Plaintiffs from soliciting or putting on testimony, evidence, or argument
           relating to Defendant’s pre-suit knowledge of the Asserted Patents, indirect
           infringement, or willful infringement of the Asserted Patents.

 (Transcript at 152:20–153:1 (emphasis added)).

 Sony’s MIL No. 10:       Preclude Plaintiffs from soliciting or putting on testimony, evidence,
                          or argument suggesting that Defendant is a California company, a
                          Japanese company, or that Defendant’s parent is a Japanese company.

           This MIL was GRANTED as clarified in the record. (Transcript at 154:22–155:10).

           The Court will exclude any pejorative references to a party’s location or origin, and any

 attempts to characterize or denigrate a person or party as being from a particular location. The

 Court clarified that this MIL will not prevent incidental references to factual matters concerning a

 person or party’s location.

 Sony’s MIL No. 11:       Preclude Plaintiffs from soliciting or putting on testimony, evidence,
                          or argument regarding the size, success, or wealth of Defendant or any
                          of its affiliates.

           This MIL was GRANTED. (Transcript at 155:16–21).

           The Court clarified that its ruling on this MIL should conform with its ruling on Sony’s

 MIL No. 2 and with the general discussion on the record concerning total wealth and size.

 Sony’s MIL No. 12:       Preclude the parties from soliciting or putting on testimony, evidence,
                          or argument that is contrary to the Court’s claim construction rulings,
                          including the reasoning contained therein.

           This MIL was DENIED. (Transcript at 155:22–156:2).


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            The Court denied this MIL because it was duplicative of the language found in the Court’s

 Claim Construction Memorandum Opinion and Order (Dkt. No. 125, at 29), which remains in

 effect.

 Sony’s MIL No. 13:        Preclude the parties from soliciting or putting on testimony, evidence,
                           or arguments relating to any prior litigation involving Defendant,
                           Defendant’s affiliates, or any of the Accused Products.

            This MIL was GRANTED-AS-AGREED as clarified in the record. (Transcript at 156:24–

 157:5).

            The Court granted this MIL with the exception of the PalTalk license, as agreed by the

 parties.

 Sony’s MIL No. 14:        Preclude comparison of burden of proof standards to other areas of
                           law, such as child custody and mental commitment proceedings.

            This MIL was GRANTED-AS-AGREED. (Transcript at 157:6–24).

 Sony’s MIL No. 15:        Preclude testimony, evidence, or argument relating to Defendant’s
                           conduct during discovery.

            This MIL was GRANTED-AS-AGREED. (Transcript at 157:25–158:6).

 Sony’s MIL No. 16:        Preclude evidence / argument on challenges to venue in the Eastern
                           District of Texas.

            This MIL was GRANTED-AS-AGREED. (Transcript at 158:7–17).

 Sony’s MIL No. 17:        Preclude argument or statements regarding witness compensation
                           unrelated to this case.

            This MIL was GRANTED-AS-AGREED as clarified in the record. (Transcript at 157:6–

 24).

            The Court granted this MIL with the exception of the expert witnesses, whose

 compensation may be discussed, as agreed by the parties.




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     So ORDERED and SIGNED this 3rd day of February, 2021.




                                              ____________________________________
                                              RODNEY GILSTRAP
                                              UNITED STATES DISTRICT JUDGE




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